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                       UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ALLEN D. CONFER,              :
                              :CIVIL ACTION NO. 3:17-CV-00597
          Plaintiff,          :
                              :(JUDGE CONABOY)
          v.                  :
                              :
CAROLYN W. COLVIN,            :
ACTING COMMISSIONER OF        :
SOCIAL SECURITY               :
                              :
          Defendant.          :
                              :
                              :
                              :
___________________________________________________________________

                                  MEMORANDUM

I.   Procedural Background.

      We consider here Plaintiff’s appeal from an adverse decision

of the Social Security Administration (“SSA” or “Agency”) regarding

his application for Disability Insurance Benefits (“DIB”).

Plaintiff’s application was initially denied at the administrative

level whereupon he requested a hearing before an Administrative Law

Judge (“ALJ”). He received that hearing May 19, 2015. The ALJ

denied Plaintiff’s application by written decision dated August 22,

2015. (Doc. 12-2). The Appeals Counsel denied Plaintiff’s request

for review by letter dated February 8, 2017. Plaintiff then

appealed to this Court by Complaint (Doc. 1) dated April 5, 2017.

This Court has jurisdiction over this matter pursuant to 42 U.S.C.

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§ 405g.

II.    Testimony before the ALJ.

       A hearing was conducted before ALJ Edward Brady in Wilkes-

Barre, Pennsylvania on May 19, 2015. Testimony was taken from

Plaintiff and from Michele Giorgio, a vocational expert (“VE”).

Also present was Charles Rosamilia, Plaintiff’s attorney. The

testimony may be summarized as follows.

       Plaintiff testified that he lived in the area of Lock Haven,

Pennsylvania but that he was essentially homeless at the time of

the hearing. He had been homeless since June of 2014. Plaintiff

last worked in 2013 and that employment ended when his employer

went bankrupt. (R. 53-54). He has not worked since June of 2013 and

has sustained himself on unemployment compensation benefits since

then. These benefits ran out in January of 2014. (R. 55).

       Plaintiff has a heart condition and had an aortic valve

replacement in 2011. He stated that he has had difficulty working

since then and is always stiff and sore. He denied chest pain but

stated that he is always short of breath. He has been diagnosed

with asthma and has quit smoking. He breathes better when in cool

temperatures. He can walk one half mile to one mile but that

exacerbates his shortness of breath. He has a driver’s license but

does not own a car. He has difficulty with stairs due to stiffness
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in his back and pain in his legs. The pain in his legs is sporadic

and worsens with changes in the weather. (R. 56-57). He has no

difficulty sitting for any length of time nor does he have

difficulty in standing as long as he can move around. He estimates

that he can lift and carry about ten pounds. (R. 58).

     With respect to his mental health, Plaintiff stated that he

was treating with a Doctor Karmini (sic). He has been seeing Dr.

Karmini for more than a year. She has been prescribing medications

for him to alleviate depression and suicidal thoughts, to help him

tolerate being around people, and to stop his mind from racing. His

depression is constant. He spends a lot of time by himself. He had

suicidal thoughts when he was younger but the medicines that Dr.

Karmini has prescribed have caused these things to stop. He

essentially interacts only with his family. He gets along well with

his family members but does argue with some of them occasionally.

He has no significant other but does have two daughters from a

previous relationship. He does not see his daughters often because

they live at a distance and his homelessness complicates his

efforts to see them. (R. 58-63).

     Plaintiff testified further that he is anxious about his

financial situation and his lack of a fixed place to live. He is

also anxious about being in a group of people and does not know

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whether he could deal with working in a group setting. He also

testified to being somewhat forgetful, particularly with regard to

his short-term memory. He does remember to take his medications.

(R. 64-66).

     Upon questioning by his attorney, Plaintiff indicated that he

sleeps twelve to thirteen hours from six o’clock in the evening to

six o’clock or seven o’clock the next morning. He has not driven at

all for two years because he makes wrong decisions on the road. He

has been pulled over by the police on suspicion of drunk driving

because he was swerving. This swerving was actually caused by a

reaction to his medications. He formerly road a bike and fished but

no longer has any hobbies. One of the medications he takes makes it

difficult for him to stop moving his hands. His energy level is

low. He basically sits most of the day and gets up and walks as

needed to help control his pain. He neither reads nor watches

television. He eats only one meal each day and stated that he is

five feet seven inches tall and weighs two hundred and twenty

pounds. He is not trying to lose weight but has lost ten pounds

since the last time he saw his doctor. In response to a question

regarding his self-esteem, Plaintiff replied: “I just don’t know

what to do with myself sometimes. …the last couple of years it’s

like downhill.” (R. 67-70).
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     VE Michele Giorgio also testified. She stated that Plaintiff

was a high school graduate who, at forty-nine years of age, would

be considered a “younger individual”. His past relevant work as a

“bin checker/tagger” was a “medium, unskilled” variety. His prior

work at a Wal-Mart Super Center involved stocking shelves and

unloading trucks and was characterized as “heavy, unskilled”. The

ALJ asked Ms. Giorgio a hypothetical question in which she was to

assume a person the same age as Plaintiff with the same educational

and vocational background. She was also to assume that the

hypothetical person could perform a limited range of light work

such that he could only occasionally bend, balance, stoop, kneel,

crawl, crouch, and climb and that he would be limited to simple and

repetitive unskilled work. Finally she was to assume that the

hypothetical person could not interact with the public and only

occasionally could interact with coworkers or supervisors. Based on

these assumptions, the VE concluded that the hypothetical person

could not perform any of Plaintiff’s past relevant work but that

the hypothetical person could perform jobs such as “mail clerk” and

“hand packer”. She stated that these jobs exist in significant

numbers in the Commonwealth.

     When the ALJ modified the hypothetical question such that the

hypothetical person would have the same limitations previously

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      discussed but also be confined to sedentary jobs the VE stated that

      work within those criteria such as “sorter”, “sampler”, and

      “inspector” could be performed by the hypothetical person. When the

      ALJ added an additional assumption that the hypothetical person

      would be off task up to 33% of each workday or miss at least one

      day of work each week the VE responded that no work would be

      available to such a person. The VE stated further that her

      testimony was consistent with the Dictionary of Occupational

      Titles. (R. 67-74).

      III. Medical Evidence

           A. Dr. Paul Simpson.

Dr. Simpson was Plaintiff’s treating physician from at least May of 2012

      through May of 2013. His progress notes regarding his treatment of

      Plaintiff document ten physical examinations interspersed regularly

      during that time frame. (R. 410-457). These progress notes are very

      similar. Each notes that Plaintiff denies:

      (1)anxiety, depression, hallucinations, confusion, difficulty

      sleeping, suicidal ideation, excessive anger, withdrawal,

      hyperactivity, inattentiveness, or behavioral problems; (2)

      muscular weakness, lack of coordination, muscle cramps, neck pain,

      back pain, shoulder pain, hip pain, knee pain, or foot pain; and

      (3) difficulty concentrating or problems related to memory. On each
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      of these visits Plaintiff appeared as “well-nourished, alert, in no

      acute distress.” Dr. Simpson’s progress notes of Plaintiff’s

      examinations dated March 5, 2013 and May 7, 2013 also document that

      Plaintiff was grossly oriented to time and place, had normal

      ability to communicate, had both immediate and long-term recall in-

      tact, had normal concentration and attention span, had fund of

      knowledge within normal limits, exhibited normal mood, appropriate

      affect, logical thought process and an awareness of current events.

  Dr. Simpson executed a Physical Capacities Evaluation Form regarding

      Plaintiff on April 8, 2015 (R. 510). Dr. Simpson opined that

      Plaintiff could sit for up to five hours in an eight hour work day

      but that his ability to stand or walk would be less than one hour.

      Plaintiff was deemed: capable of lifting and carrying up to ten

      pounds occasionally; incapable of simple grasping with his hands,

      or pushing and pulling arm controls; and incapable of fine

      manipulation. Dr. Simpson indicated that Plaintiff could use both

      feet to operate pedals and foot controls but that he could never

      bend, squat, crawl, climb, or reach and that he could not be

      exposed to unprotected heights, moving machinery, changes in

      temperature, or exposure to dust and fumes.

           B. Punyabrata Roy.

Dr. Roy was Plaintiff’s treating psychiatrist from at least March of 2012

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     through August of 2013. Dr. Roy’s progress note from six

     consultations in that time frame uniformly assessed Plaintiff to be

     afflicted by impulse control disorder, anxiety disorder, and

     depressive disorder. Dr. Roy’s notes also indicate that Plaintiff

     consistently denied homicidal or suicidal ideas and hallucinations.

     His insight and judgment was generally described as “fair”. His

     mood was described variously as “appropriate” and “calm and

     cooperative”. There is the repeated assessment that Plaintiff “is

     not psychotic at this time”.

Dr. Roy did not provide a written opinion as to the effect                              Plaintiff’s

     diagnoses would have on his ability to work. He did, however,

     consistently assess Plaintiff’s Global Assessment of Functioning

     scores to be between fifty-seven and sixty. These scores generally

     indicate moderate symptomology.1
            1
               While the most recent edition of the Diagnostic Statistical Manual of Mental Disorders no
     longer assesses symptom severity, diagnostic severity, and disability in terms of Global Assessment
     of Functions scores (GAF’s), at the time of Plaintiff’s assessments the GAF scale was used to report
     a clinician’s judgment of the patient’s overall level of functioning on a scale of one to one hundred.
     All of Plaintiff’s recorded GAF’s that are documented in the record were between fifty-two and
     sixty. A GAF score of twenty-one to thirty indicates that behavior is considerably influenced by
     delusions or hallucinations or serious impairment in communication or judgment. A GAF score of
     thirty-one to forty indicates some impairment in reality testing or communication and that speech is
     at times illogical, obscure or irrelevant and may indicate major impairment in several areas such as
     work or school, family relations, judgment, thinking, or mood. A GAF score of forty-one to fifty
     indicates serious symptoms such as suicidal ideation, severe obsessional rituals, frequent shop lifting
     or any impairment in social occupation or school functioning. A GAF score of fifty-one to sixty, like
     those exhibited by the Plaintiff in this case, indicates “moderate symptoms such as flat affect,
     occasional panic attacks, or moderate difficulty of social, occupation, or school functioning.” See
     Diagnostic Statistical Manual of Mental Disorders 34 (4th ed., text Rev., 2000).
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               C. Dr. Sreedevi Komarneni.

  Dr. Komarneni completed a Medical Source Statement of Ability to Do Work-

        Related Activities that addressed Plaintiff’s mental status May 11,

        2015. (R. 511-512). Dr. Komarneni indicated that Plaintiff: had

        moderate impairment in understanding, remembering, and carrying out

        simple instructions; had marked impairment in his ability to make

        simple work-related decisions; and severe impairment in his ability

        to understand and carry out detailed instructions or to make

        complex work-related decisions.2

               D. David Smock, Ph.D.

Dr. Smock saw Plaintiff once in his capacity as a consulting psychiatrist for

        the Bureau of Disability Determination. This consult took place on

        January 4, 2014. Dr. Smock’s disability evaluation (R. 501-509)

        stated:

                       It is felt that he would have some difficulty

                       sustaining attention to work. There were

                       times when items had to be repeated to him

                       because he did not get the stimulus item

                       clear the first time. This is clearly what


               2
                  Plaintiff’s counsel asserts that Dr. Komarneni was a treating Psychiatrist. (Doc. 16 at 6).
        However, the Court has found nothing in the record to substantiate Dr. Komarneni’s characterization
        as that of a treating psychiatrist.
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           happened in the job setting. He would have

           significant problems following and

           understanding directions and making

           appropriate decisions in the job setting,

           especially if material starts to get

           complicated. While no formal testing was

           completed, it is likely that his IQ falls at

           least in the borderline intellectual range,

           perhaps lower. He would have problems doing

           simple tasks independently and would be

           overwhelmed by complex tasks. He would have

           problems learning new tasks. He would have

           fairly sufficient difficulty relating

           effectively to peers, supervisors, and

           customers. His arithmetic skills are quite

           limited, but it is felt that he could

           basically manage his own funds.

Dr. Smock diagnosed depressive disorder and expressed the

possibility of borderline intellectual functioning and mild mental

retardation. (R. 504).

     Dr. Smock also assessed Plaintiff as demonstrating: moderate

impairment in understanding, remembering, and carrying out simple
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        instructions; marked impairment in his ability to make simple work-

        related decisions; and severe impairment in his ability to

        understand, carry out, or make judgments regarding complex, work-

        related instructions. With respect to Plaintiff’s social

        functioning, Dr. Smock stated that Plaintiff had marked impairment

        in his ability to interact appropriately with the public, co-

        workers or supervisors.

             E. Dr. Paul Perch.

Paul Perch, Ed.D., a non-examining consulting phycologist, completed a Mental

        Residual Functional Capacity Assessment of Plaintiff on January 15,

        2014 after reviewing progress notes and opinions from Drs. Smock,

        Roy, and Simpson. (R. 85-88). Dr. Perch found that Plaintiff had no

        significant limitations in: the ability to remember locations and

        work procedures; the ability to understand and remember simple

        instructions; the ability to maintain attention and construction

        for extended periods; the ability to comply with a work schedule

        and maintain regular attendance; the ability to sustain an ordinary

        routine without special supervision; the ability to work in

        proximity to others without distraction; and the ability to

        interact appropriately with the general public. Dr. Perch also

        found that Plaintiff had moderate limitations in: the ability to

        accept instruction and respond appropriately to criticism from

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        supervisors; and the ability to respond appropriately to changes in

        the work place. Finally, Dr. Perch found that Plaintiff had marked

        limitations in the ability to remember and carry out detailed

        instructions.

Dr. Perch opined: “the claimant can sustain an ordinary routine and adapt to

        routine changes without special supervision. The claimant would be

        able to make simple decisions. Review of the medical evidence

        reveals that the claimant retains the abilities to manage the

        mental demands of many types of jobs not requiring complicated

        tasks. (R. 87). Dr. Perch also indicated that Dr. Smock’s opinion

        was “an overestimate of the severity of the individual’s (the

        claimant’s) restrictions/limitations and based only on a snapshot

        of the individual’s functioning.” R. at 88). Dr. Perch concluded

        that Plaintiff could perform his past relevant work as a

        checker/tagger.

             F. Dr. Louis Tedesco, M.D.

Dr. Tedesco completed a Physical Residual Functional Capacity Assessment of

        Plaintiff on December 6, 2013 after reviewing Plaintiff’s medical

        records. Dr. Tedesco found that Plaintiff could: occasionally lift

        and carry up to twenty pounds; frequently lift and carry up to ten

        pounds; stand and/or walk up to six hours in an eight hour workday;

        sit for up to six hours in an eight hour workday; and push and pull
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       without limitation except for those stated for lifting and

       carrying. Dr. Tedesco found also that Plaintiff had no postural

       limitations, no manipulative limitations, no visual limitations, no

       communicative limitations, and no environmental limitations. (R.

       84-85).

       IV.                       ALJ Decision.

The ALJ’s decision (Doc. 12-2 at 9-25) was unfavorable to the Plaintiff. It

       includes the following findings of fact and conclusions of law:

                  1. The claimant meets the insured status

                     requirements of the Social Security Act

                     for December 31, 2018.

                  2. The Claimant has not engaged in

                     substantial gainful activity since June

                     10, 2013, the alleged unset date.

                  3. The Claimant has the following severe

                     impairments: coronary artery disease,

                     status-post valve replacement, a bipolar

                     disorder, an impulse control disorder, and

                     an anxiety disorder.

                  4. The claimant does not have an impairment

                     or combination of impairments that meets

                     or medically equals the severity of one of

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           the impairments in 20 CFR Part 404, Sub

           Part P, Appendix 1 (20 CFR 404. 1520(d),

           404.1525 and 404.1526).

        5. After careful consideration of the entire

           record, the undersigned finds that the

           claimant has the residual functional

           capacity to perform light work as defined

           in 20 CFR 404.1567 (b) except the

           claimant: could occasionally bend,

           balance, stoop, kneel, crouch, crawl, and

           climb at jobs which are simple, routine,

           and repetitive work, generally described

           as unskilled; could have no interaction

           with the public and could have occasional

           contact with co-workers and supervisors.

        6. The claimant is unable to perform any past

           relevant work.

        7. The claimant was born on August 9, 1965

           and was forty-seven years old, which is

           defined as a younger individual age 18-49,

           on the alleged disability onset date.

        8. The claimant has at least high school
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                               education and is able to communicate in

                               English.

                         9. Transferability of job skills is not

                               material to the determination of

                               disability because using the Medical-

                               Vocational Rules as a framework supports a

                               finding that the claimant is “not

                               disabled,” whether or not the claimant has

                               transferrable job skills.

                       10. Considering the claimant’s age, education,

                               work experience, and residual functional

                               capacity, there are jobs that exist in

                               significant numbers in the national

                               economy that the claimant can perform.

ability as defined in 1t1h.e

                               Social Security Act, from June 10 2013,

                               through the date of this decision.




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V.

Disability Determination Process.



The Commissioner is required to use a five-step analysis to

determine whether a claimant is disabled.3                       It is necessary for the

Commissioner to ascertain: 1) whether the applicant is engaged in a

substantial activity; 2) whether the applicant is severely

impaired; 3) whether the impairment matches or is equal to the

requirements of one of the listed impairments, whereby he qualifies

for benefits without further inquiry; 4) whether the claimant can

perform his past work; 5) whether the claimant=s impairment

together with his age, education, and past work experiences

preclude him from doing any other sort of work.                          20 CFR ''




       3
          ADisability@ is defined as the Ainability to engage in any substantial gainful activity by
reason of any medically determinable physical or mental impairment which can be expected to result
in death or which has lasted or can be expected to last for a continuous period of not less than 12
months . . . .@ 42 U.S.C. ' 423(d)(1)(A). The Act further provides that an individual is disabled

              only if his physical or mental impairment or impairments are of such
              severity that he is not only unable to do his previous work but cannot,
              considering his age, education, and work experience, engage in any
              other kind of substantial gainful work which exists in the national
              economy, regardless of whether such work exists in the immediate
              area in which he lives, or whether a specific job vacancy exists for
              him, or whether he would be hired if he applied for work.

42 U.S.C. ' 423(d)(2)(A).
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404.1520(b)-(g), 416.920(b)-(g); see Sullivan v. Zebley, 493 U.S.

521, 110 S. Ct. 885, 888-89 (1990).

      The disability determination involves shifting burdens of

proof.   The initial burden rests with the claimant to demonstrate

that he or she is unable to engage in his or her past relevant

work.    If the claimant satisfies this burden, then the Commissioner

must show that jobs exist in the national economy that a person

with the claimant=s abilities, age, education, and work experience

can perform.    Mason v. Shalala, 993 F.2d 1058, 1064 (3d Cir. 1993).

      As set out above, the instant decision was decided at the

fifth step of the process when the ALJ found there are jobs that

exist in the national economy that Plaintiff is able to perform.

(R. at 22).

VI.   Standard of Review.

      This Court’s review of the Commissioner=s final decision is

limited to determining whether there is substantial evidence to

support the Commissioner=s decision.      42 U.S.C. ' 405(g); Hartranft

v. Apfel, 181 F.3d 358, 360 (3d Cir. 1999).       Substantial evidence

means Amore than a mere scintilla”.      It means “such relevant

evidence as a reasonable mind might accept as adequate to support a

conclusion.@    Richardson v. Perales, 402 U.S. 389, 401 (1971); see

also Cotter v. Harris, 642 F.2d 700, 704 (3d Cir. 1981).            The Third

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Circuit Court of Appeals further explained this standard in Kent v.

Schweiker, 710 F.2d 110 (3d Cir. 1983).

           This oft-cited language is not . . . a
           talismanic or self-executing formula for
           adjudication; rather, our decisions make clear
           that determination of the existence vel non of
           substantial evidence is not merely a
           quantitative exercise. A single piece of
           evidence will not satisfy the substantiality
           test if the Secretary ignores, or fails to
           resolve, a conflict created by countervailing
           evidence. Nor is evidence substantial if it
           is overwhelmed by other evidenceB-particularly
           certain types of evidence (e.g., that offered
           by treating physicians)B-or if it really
           constitutes not evidence but mere conclusion.
           See Cotter, 642 F.2d at 706 (ASubstantial
           evidence@ can only be considered as supporting
           evidence in relationship to all the other
           evidence in the record.@) (footnote omitted).
           The search for substantial evidence is thus a
           qualitative exercise without which our review
           of social security disability cases ceases to
           be merely deferential and becomes instead a
           sham.


710 F.2d at 114.

     This guidance makes clear it is necessary for the Secretary

to analyze all evidence.     If she has not done so and has not

sufficiently explained the weight given to all probative exhibits,

Ato say that [the] decision is supported by substantial evidence

approaches an abdication of the court=s duty to scrutinize the

record as a whole to determine whether the conclusions reached are
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rational.@     Dobrowolsky v. Califano, 606 F.2d 403, 406 (3d Cir.

1979).   In Cotter, the Circuit Court clarified that the ALJ must

not only state the evidence considered which supports the result

but also indicate what evidence was rejected: ASince it is

apparent that the ALJ cannot reject evidence for no reason or the

wrong reason, an explanation from the ALJ of the reason why

probative evidence has been rejected is required so that a

reviewing court can determine whether the reasons for rejection

were improper.@    Cotter, 642 F.2d at 706-07.      However, the ALJ

need not undertake an exhaustive discussion of all the evidence.

See, e.g., Knepp v. Apfel, 204 F.3d 78, 83 (3d Cir. 2000).          AThere

is no requirement that the ALJ discuss in her opinion every tidbit

of evidence included in the record.@       Hur v. Barnhart, 94 F. App=x

130, 133 (3d Cir. 2004).     A[W]here [a reviewing court] can

determine that there is substantial evidence supporting the

Commissioner=s decision, . . .      the Cotter doctrine is not

implicated.@    Hernandez v. Commissioner of Social Security, 89

Fed. Appx. 771, 774 (3d Cir. 2004) (not precedential).

     A reviewing court may not set aside the Commissioner=s final

decision if it is supported by substantial evidence, even if the

court would have reached different factual conclusions.         Hartranft,

181 F.3d at 360 (citing Monsour Medical Center v. Heckler, 806 F.2d

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1185, 1190-91 (3d Cir. 1986); 42 U.S.C. ' 405(g) (A[t]he findings

of the Commissioner of Social Security as to any fact, if supported

by substantial evidence, shall be conclusive . . .@).         AHowever,

even if the Secretary=s factual findings are supported by

substantial evidence, [a court] may review whether the Secretary,

in making his findings, applied the correct legal standards to the

facts presented.@    Friedberg v. Schweiker, 721 F.2d 445, 447 (3d

Cir. 1983) (internal quotation omitted).       Where the ALJ=s decision

is explained in sufficient detail to allow meaningful judicial

review and the decision is supported by substantial evidence, a

claimed error may be deemed harmless.      See, e.g., Albury v.

Commissioner of Social Security, 116 F. App=x 328, 330 (3d Cir.

2004) (not precedential) (citing Burnett v. Commissioner, 220 F.3d

112 (3d Cir. 2000) (A[O]ur primary concern has always been the

ability to conduct meaningful judicial review.@). Finally, an ALJ=s

decision can only be reviewed by a court based on the evidence that

was before the ALJ at the time he or she made his or her decision.

Matthews v. Apfel, 239 F.3d 589, 593 (3d Cir. 2001).

VII.

Discussion

       A. General Considerations
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     At the outset of our review of whether the ALJ has met the

substantial evidence standard regarding the matters at issue here,

we note the Third Circuit has repeatedly emphasized the special

nature of proceedings for disability benefits.        See Dobrowolsky,

606 F.2d at 406.   Social Security proceedings are not strictly

adversarial, but rather the Social Security Administration provides

an applicant with assistance to prove his claim.        Id.   AThese

proceedings are extremely important to the claimants, who are in

real need in most instances and who claim not charity but that

which is rightfully due as provided for in Chapter 7, Subchapter

II, of the Social Security Act.@      Hess v. Secretary of Health,

Education and Welfare, 497 F. 2d 837, 840 (3d Cir. 1974).           As such,

the agency must take extra care in developing an administrative

record and in explicitly weighing all evidence.        Dobrowolsky, 606

F.2d at 406.   Further, the court in Dobrowolsky noted Athe cases

demonstrate that, consistent with the legislative purpose, courts

have mandated that leniency be shown in establishing the claimant=s

disability, and that the Secretary=s responsibility to rebut it be

strictly construed.@    Id.

     B. Plaintiff’s Allegations of Error.

     1. Whether the ALJ failed to properly account for Plaintiff’s

impulse control disorder in determining his RFC?

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     The ALJ’s RFC determination provided, among other things, that

the Plaintiff would be limited to jobs requiring only simple,

routine, repetitive, and unskilled work and would be further

limited to jobs where he would have no exposure to the public and

only limited exposure to co-workers and supervisors. (R. at 17).

Plaintiff asserts that the RFC determination makes inadequate

provision for his impulse control disorder but cites no authority

to support the proposition that the ALJ’s RFC determination did not

adequately consider the limiting effects of that disorder.

Significantly, Plaintiff fails to point to any specific limitation

documented in the record that relates to his impulse control

disorder and renders him unemployable. As Defendant observes, a

diagnosis that a condition exists does not establish that it is

disabling. 20 CFR § 404.1521 (See Doc. 17 at 10).

     The Court’s review of the record discloses that, while the

diagnoses of impulse control disorder is consistently reported, the

progress notes of two treating physicians, Drs. Simpson and Roy,

are devoid of any mention of impairments flowing directly from the

condition. As indicated in the summary of the medical evidence

(Section III, ante), both treating physicians consistently

described Plaintiff as fully oriented, communicative, normal in

terms of concentration and attention span, exhibiting normal mood
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and appropriate affect and displaying logical thought process. Dr.

Roy repeatedly assessed Plaintiff at a GAF of 57 to 59, scores

indicating only moderate impairment in function. The combined

history provided by Drs. Simpson and Roy simply does not establish

the Plaintiff’s impulse control disorder required additional

limitations over and above those provided (limitation to simple,

repetitive tasks, limited exposure to co-workers and supervisors,

and no exposure to the general public)in the ALJ’s RFC

determination. The totality of the progress notes provided by Drs.

Simpson and Roy afforded the ALJ a reasonable basis for the

conclusion he drew. Accordingly, Plaintiff’s allegation of error on

this point is rejected.

     2. Whether the ALJ inappropriately evaluated the medical

evidence regarding Plaintiff’s physical limitations?

     With respect to his physical limitations, Plaintiff contends

that the ALJ improperly preferred the physical capacities

evaluation of a consulting physician over that of his primary care

doctor, Dr. Simpson. Dr. Simpson had opined that Plaintiff had

lifting, carrying, standing, and sitting limitations that were more

restrictive than those identified in the ALJ’s RFC determination.

Plaintiff asserts: “these findings were made without any medical

documentation to support the more extensive physical capacities

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findings of the Administrative Law Judge.” (Doc. 16 at 7). This may

be so, but it is no avail to Plaintiff because the documentation he

relies upon (the physical capacities evaluation performed by Dr.

Simpson found in the Record at 510) is starkly inconsistent with

the progress notes he created during his extended treatment of

Plaintiff during the relevant time period. Over the course of ten

examinations leading up to Plaintiff’s alleged onset of disability

date, Dr. Simpson consistently noted that Plaintiff was free of

neck pain, back pain, shoulder pain, hip pain, knee pain, or foot

pain; displayed no muscular weakness; experienced no muscle cramps,

and displayed no lack of coordination. Significantly, in the last

two progress notes Dr. Simpson entered on March 5, 2013 and May 7,

2013 (R. at 449 and 456 respectively), he recorded Plaintiff’s

strength as normal in all extremities with normal muscle tone and

normal muscle bulk, and no atrophy. These findings are simply

inconsistent with Dr. Simpson’s physical capacities evaluation (R.

at 510) finding that Plaintiff can only occasionally lift or carry

up to ten pounds. Given the apparent inconsistency between Dr.

Simpson’s progress notes and his physical capacities evaluation the

ALJ may not be faulted for his unwillingness to rely upon that

evaluation.
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     On December 6, 2013 Dr. Louis Tedesco completed the State

Agency Physical Assessment of claimant. Dr. Tedesco had available

to him all Plaintiff’s medical records up to December of 2013

including Dr. Simpson’s progress notes regarding his treatment of

the claimant between May 3, 2012 and May 7, 2013. Dr. Tedesco’s

review of Plaintiff’s medical history persuaded him the Plaintiff

had the physical capacity to: occasionally lift up to twenty pounds

and frequently lift up to ten pounds; stand or walk six hours in an

eight hour work day; sit six or eight hours in an eight hour work

day; operate hand and foot controls; and work without postural,

manipulative, visual, communicative, or environmental limitations.

The ALJ gave substantial weight to Dr. Tedesco’s assessment because

“it is largely consistent with the more moderate symptomology

experienced by the claimant.” (R. at 21). The ALJ added: “the

claimant explained in his hearing testimony that he has no sitting

or standing limitations. He added that he is able to walk up to one

mile without issue. Admittedly, the claimant’s submissions show

that he does experience shortness of breath, to an extent.

Nevertheless, this limitation does not preclude him from walking a

considerable distance…”. (See R. at 56-59).

     Having reviewed the ALJ’s Decision, all pertinent medical

evidence in the file, and the parties’ briefs, the Court concludes

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that Plaintiff’s argument regarding the ALJ’s evaluation of the

medical evidence must fail. As noted above, the totality of Dr.

Simpson’s treatment notes regarding Plaintiff’s physical

impairments are so benign as to be unsupportive of his Physical

Capacities Evaluation dated April 8, 2015. In fact, Plaintiff’s own

testimony at his hearing approximately seven weeks later is equally

inconsistent with Dr. Simpson’s assessment. (R. at 56-58). Under

these circumstances, the ALJ was well within his discretion in

elevating the opinion of Dr. Tedesco.

     3. Whether the ALJ improperly evaluated the medical evidence

regarding the Plaintiff’s cognitive/emotional impairments?

     Plaintiff asserts that the ALJ improperly gave greater weight

to the opinion of a consulting psychologist, Paul Perch, than to

those opinions provided by an evaluating psychologist, David Smock,

and a medical doctor, Sreedevi Komarneni. (Doc. 16 at 5-10).

Plaintiff contends further that “20 C.F.R. § 404.1527(c)(2)

provides that, if a treating source opinion is well-supported by

medically acceptable clinical and laboratory diagnostic techniques

and is not inconsistent with the other substantial evidence in the

case record the ALJ must ‘give it controlling weight.’” (Id. at

10). This is both a correct statement of the law and one that is

unhelpful to Plaintiff because neither the opinion of Psychologist
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Smock nor that of Dr. Komarneni can be viewed as “well supported by

medically acceptable clinical and laboratory diagnostic techniques

and … not inconsistent with other substantial evidence in the

case.”

     Dr. Smock, a one-time evaluating psychologist, provided a

relatively dire picture of Plaintiff’s intellectual and emotional

capacities after reviewing the treatment records of Doctors Simpson

and Roy (See pages 6-8, ante). Both Doctors Simpson and Roy noted

repeatedly that Plaintiff displayed no homicidal or suicidal

ideation, displayed normal affect and mood, presented as oriented

to time and place, displayed normal thought process and thought

content, and did not complain of any difficulty with concentration

or memory. In short, the progress notes of these treating

physicians, each of whom saw Plaintiff on numerous occasions, were

consistently benign as to Plaintiff’s cognitive/emotional

difficulties. As such, the opinion of Psychologist Smock was highly

“inconsistent with other substantial evidence in the case.” Thus,

under 20 C.F.R. § 404.1527 (c)(2), the ALJ was free to accord

greater weight to other substantial evidence of record, the

consistently more benign progress notes of Drs. Roy and Simpson

over a lengthy course of treatment. This is precisely why the ALJ

refused to accord significantly weight to Psychologist Smock’s

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opinion. (R. at 19-20). The ALJ decision in this regard is

reasonable and will not be disturbed.

       Dr. Komarneni also proffered a Medical Source Statement dated

May 11, 2015 that limited Plaintiff more severely than the RFC that

the ALJ assigned to him. Specifically, he indicated on a “check the

box” form that Plaintiff had marked difficulties: in his ability to

make simple work-related decisions; in his ability to interact with

the public, supervisors, or co-workers; and in his ability to

respond appropriately to usual work situations.4 The Court will

assume that Dr. Komarneni was a treating physician despite the fact

that the entire 617 page record in this case includes only the two

page Medical Source Statement of May 11, 2015 from her. However,

this document is completely unsupported by diagnostic or clinical

findings. While the Court would normally accord great weight, if

not controlling weight, to the opinion of a treating physician,

such is not the case where, as here, Dr. Komarneni’s opinion is

completely unsupported by diagnostic or clinical findings and is

also inconsistent with other medical evidence in the record (the

progress notes of treating physicians Simpson and Roy). If “the

opinion of a treating physician conflicts with that of a non-


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         Forms that merely require a physician to place checks in boxes are “weak evidence at best”
in the context of a disability analysis. Mason v. Shalala, supra, at 1065.
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treating, non-examining physician, the ALJ may choose whom to

credit but cannot reject evidence for no reason or for the wrong

reason.” Jones v Sullivan, 954 F2d 125,129) 3rd Cir. 1991).

     Here the ALJ gave little weight to Dr. Komarneni’s opinion “as

it does not include the requisite examination findings required to

support such extreme limitation. Moreover, the evidence of record,

including his mental status examination findings and the GAF scores

assigned to the claimant failed to corroborate such substantial

limitation.” (R. at 200). Having reviewed the record, especially

the numerous progress notes of Doctors Simpson and Roy, we must

conclude that the ALJ’s decision to accord little weight to Dr.

Komarneni’s Medical Source Statement was justified under the

circumstances.

     As the Government contends in its brief (Doc. 17 at 22),

“State Agency Medical and Psychological Consultants are highly

qualified physicians and psychologists who are experts in the

evaluation of medical issues in disability claims.” SSR 96-6p. When

an ALJ elects to assign great weight to a State Agency

Psychological Consultant (Dr. Perch) and to subordinate contrary

opinion of the treating physician, he may appropriately do so when

the treating physician’s opinion is unsupported by treatment

records, inconsistent with the claimant’s clinical presentation

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over a lengthy period, and contradicted by other evidence of

record. 20 C.F.R. § 404.1527(c)(2). Accordingly, the Court finds

that the ALJ’s decision to accord more significant weight to Dr.

Perch’s assessment constituted substantial evidence upon which the

ALJ was entitled to rely.

VIII.   Conclusion.

     For all the reasons referenced in this Memorandum, the Court

concludes that substantial evidence supports the Agency’s decision.

Thus, Plaintiff’s appeal from the final decision of the Agency will

be denied. An Order consistent with this conclusion will be filed

contemporaneously.




                                   BY THE COURT,



                                   S/Richard P. Conaboy
                                   RICHARD P. CONABOY
                                   United States District Judge



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